Case 2:23-cv-00063-JRG-RSP          Document 140        Filed 04/01/24     Page 1 of 6 PageID #:
                                           2393



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DYNAPASS IP HOLDINGS LLC,                     §
                                                §
        Plaintiff,                              §
                                                §
                                                  CIVIL ACTION NO. 2:23-CV-00063-JRG-RSP
  v.                                            §
                                                               (LEAD CASE)
                                                §
  AMAZON.COM, INC.,                             §
                                                §
        Defendant.                              §
                                                §

                                   MEMORANDUM ORDER

        Before the Court is the Motion for Leave to Amend Infringement Contentions filed by

 Plaintiff Dynapass IP Holdings LLC. Dkt. No. 116. Defendants Amazon.com, Inc., Simmons First

 National Corporation, Simmons Bank, The Charles Schwab Corporation, and Charles Schwab

 Bank, SSB opposed the motion in the form of a response and sur-reply. Dkt. No. 119; Dkt. No.

 126. Defendant Experian Information Solutions, Inc. opposed the Motion on different grounds and

 filed a response and sur-reply separate from the other defendants. Dkt. No. 120; Dkt. No. 129.

        For the reasons below, the Motion is GRANTED.

                                     I.   BACKGROUND

        Dynapass originally filed this action against Amazon. The action was designated the lead

 case and then consolidated for all pre-trial issues with Case Nos. 2:23-cv-00064 (defendants

 Charles Schwab et al.), 2:23-cv-00066 (defendant Experian), and 2:23-cv-00068 (defendants

 Simmons First National Corporation et al.). Dkt. No. 11.

        Relevant to this Motion, Dynapass asserted U.S. Patent No. 6,993,658, appearing in the

 infringement contentions served in this action on May 16, 2023. See Dkt. No. 116 at 2. This Court

 construed terms from the ’658 Patent in a separate action involving Plaintiff. Dynapass v. Chase,

                                                 1
Case 2:23-cv-00063-JRG-RSP              Document 140      Filed 04/01/24     Page 2 of 6 PageID #:
                                               2394



 Case No. 2:22-cv-00212-JRG-RSP, Dkt. No. 120. In particular, the Court construed “password”

 and related terms, partially prompting Dynapass to seek amended infringement contentions.

 Related motion practice ensued. See 2:22-cv-212, Dkt. No. 170 (hearing finding that Dynapass

 could seek amendment through proper motion under P.R. 3-6(b)); 2:22-cv-212, Dkt. No. 190

 (order granting subsequent motion to amend pursuant to P.R. 3-6(b)).

                                  II.    LEGAL STANDARDS

           “[A] party claiming patent infringement must serve on all parties” infringement

 contentions. Patent Local Rule 3-1. “Amendment or supplementation of any Infringement

 Contentions or Invalidity Contentions . . . may be made only by order of the Court, which shall be

 entered only upon a showing of good cause.” P.R. 3-6(b). “Good cause,” according to the Federal

 Circuit, “requires a showing of diligence.” O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467

 F.3d 1355, 1366 (Fed. Cir. 2006). Courts routinely apply a four-factor test to determine whether

 good cause has been shown. See Alt v. Medtronic, Inc., No. 2:04-CV-370, 2006 WL 278868, at *2

 (E.D. Tex. Feb. 1, 2006) (citation omitted). Those four factors are: (1) the explanation for the

 failure to meet the deadline; (2) potential prejudice in allowing the thing that would be excluded;

 (3) the importance of the thing that would be excluded; and (4) the availability of a continuance to

 cure such prejudice. The burden of proving good cause rests with the party seeking the untimely

 amendment. Id; S&W Enters., L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 536 (5th Cir.

 2003)).

           The Patent Local Rules provide that a party’s infringement contentions and invalidity

 contentions are that party’s final contentions unless:

           a) Leave not required. Each party’s “Infringement Contentions” and “Invalidity
           Contentions” shall be deemed to be that party’s final contentions, except as set forth
           below.


                                                  2
Case 2:23-cv-00063-JRG-RSP            Document 140        Filed 04/01/24     Page 3 of 6 PageID #:
                                             2395



                 (1) If a party claiming patent infringement believes in good faith that the Court’s
                 Claim Construction Ruling so requires, not later than 30 days after service by the
                 Court of its Claim Construction Ruling, that party may serve "Amended
                 Infringement Contentions" without leave of court that amend its "Infringement
                 Contentions" with respect to the information required by Patent R. 3-1(c) and (d).
                 (2) Not later than 50 days after service by the Court of its Claim Construction
                 Ruling, each party opposing a claim of patent infringement may serve "Amended
                 Invalidity Contentions" without leave of court that amend its "Invalidity
                 Contentions" with respect to the information required by P. R. 3-3 if:
                         (A) a party claiming patent infringement has served "Infringement
                         Contentions" pursuant to P. R. 3-6(a), or
                         (B) the party opposing a claim of patent infringement believes in good faith
                         that the Court’s Claim Construction Ruling so requires.
        b) Leave required. Amendment or supplementation of any Infringement
        Contentions or Invalidity Contentions, other than as expressly permitted in P. R. 3-
        6(a), may be made only by order of the Court, which shall be entered only upon a
        showing of good cause.

 P.R. 3-6.

                                       III.   ANALYSIS

              A. Opposition to DOE Theories (Dkt. No. 119)

        Defendants assert that Dynapass has not adequately shown that the addition of new DOE

 arguments is justified based on the reasoning in the Motion. Dkt. No. 119 at 8. Defendants contend

 that Dynapass’s assertion that the “amendments are ‘limited to identifying alternative examples of

 an infringing ‘passcode,’” which would not encompass DOE arguments appearing in the amended

 contentions for the first time. Dkt. No. 119 at 8 (citing Dkt. No. 116 at 3). Dynapass replies that

 the first paragraph of the motion references “limitation 5[e]” which included the DOE amendment.

 Dkt. No. 123 at 3.

        The Court finds that Dynapass has adequately demonstrated good cause for the added DOE

 arguments.




                                                  3
Case 2:23-cv-00063-JRG-RSP            Document 140        Filed 04/01/24       Page 4 of 6 PageID #:
                                             2396



            B. Experian’s Sufficiency Opposition (Dkt. No. 120)

        Experian asserts that the proposed amendments fail to comply with P.R. 3-1(c) by not

 disclosing where the proposed additions are found within Experian’s products. Dkt. No. 120 at 13.

 Particularly, Experian takes issue with the use of “other information known to the user” as an

 example of “passcode” not being specifically tied to the “Experian service.” Dkt. No. 120 at 13–

 14. Further, Experian asserts that the example of “username” as “other information known to the

 user” was not specifically tied to the Experian products. Id. at 14. Dynapass replies that the use of

 Experian’s two-page brochure showing credentials associated with the user (Dkt. No. 116-1 at 3)

 “satisfy the notice function” required by P.R. 3-1(c).

        The Court finds that Dynapass’s amendments are sufficient pursuant to P.R. 3-1(c).

 Experian’s arguments are premature in response to a Motion to amend, as they encompass complex

 issues better suited for contexts other than an opposition to a motion to amend. Whether the claim

 terms capture the subject matter of the accused instrumentalities, and ultimately whether the

 Experian products infringe are arguments correct for claim construction, summary judgment, or

 trial. Accordingly, the Court does not find that the amendments are futile.

            C. Good Cause Considerations

                    1. Diligence and excuse

        Dynapass asserts that it was diligent in seeking amendment because the contentions were

 served two months after the claim construction order in the Dynapass v. Chase case. Dkt. No. 116

 at 4. Further, Dynapass asserts that the failure to meet the deadline for serving contentions in this

 action, May 16, 2023, is explained by the need for amendment not arising until after the claim

 construction occurred on October 31, 2023. Id. at 4–5. Experian asserts that this factor is

 inapplicable. Dkt. No. 120 at 15. The Court finds that diligence has been demonstrated as to the



                                                  4
Case 2:23-cv-00063-JRG-RSP           Document 140        Filed 04/01/24      Page 5 of 6 PageID #:
                                            2397



 proffered impetus, but the factor regarding explanation for failure to meet the deadline is neutral.

 The unique circumstances of this Motion are that the reason for seeking amendment occurred due

 to a claim construction ruling in another case. As claim construction is yet to occur in this action

 on the same asserted patent, the Court does not find that diligence determines the outcome of this

 analysis.

                    2. Importance of amendment

        Dynapass asserts that its amendments are important and necessary due to the Court’s claim

 construction which “excludes instances where the user’s password and token are submitted

 separately.” Dkt. No. 116 at 5. Experian asserts that the proposed amendments are not important

 since they are deficient, based on their arguments discussed above. Dkt. No. 120 at 15. Since the

 Court has rejected Experian’s sufficiency arguments, the Court finds that the importance factor

 weighs in favor of amendment.

                    3. Prejudice and Possibility of Continuance to Cure

        Dynapass asserts that the amendments are minimal and narrowly tailored, reducing any

 prejudice that might be suffered in combination with the early stage of the case. Dkt. No. 116 at 6.

 Further, Dynapass asserts that continuance is unnecessary. Id. Experian asserts that a continuance

 would not remedy the prejudice of being “prevented from fairly evaluating Dynapass’s contentions

 for potential claim construction, noninfringement, and invalidity issues.” Dkt. No. 120. This

 argument is predicated on a finding of insufficiency. See id. As discussed above, the Court has

 found that the contentions are sufficient. Considering the narrowness of the amendments,

 prompted by claim construction rulings in a separate case, the Court finds that the potential

 prejudice does not outweigh the other factors.




                                                  5
Case 2:23-cv-00063-JRG-RSP      Document 140       Filed 04/01/24   Page 6 of 6 PageID #:
                                       2398



       Accordingly, the Motion is GRANTED.
       SIGNED this 3rd day of January, 2012.
       SIGNED this 1st day of April, 2024.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE




                                             6
